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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

GERALD LYNN BOSTOCK,                     )
                                         )
             Plaintiff,                  )
                                         )
v.                                       )       CIVIL ACTION
                                         )       NO: 1:16-cv-01460-ELR-WEJ
CLAYTON COUNTY,                          )
                                         )
             Defendant.                  )

     REPLY IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY
                          JUDGMENT

                              I.     INTRODUCTION

      In his initial brief, Mr. Bostock established that he is entitled to judgment as

a matter of law on the issue of liability and this case should proceed to a jury trial on

the sole issue of damages. Defendant’s response in opposition is most notable for

what it fails to address: the fact that Teske admitted under oath that Mr. Bostock’s

sexuality was a “contributing factor” in Teske’s decision to terminate Mr. Bostock.

(Teske Depo. 177:22-178:20.) This glaring omission of a pivotal fact by Defendant

speaks volumes. In the face of this undisputed and unambiguous sworn testimony,

there is no context for Defendant to attempt to explain away and no other

interpretation beyond what Teske admitted: he fired Mr. Bostock because he is gay.



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Although the record contains abundant additional evidence of discrimination, this

statement alone is enough to require summary judgment in Plaintiff’s favor.

      What Defendant does actually include in its response fares no better. As set

forth below, Defendant has mischaracterized or misstated the record concerning

numerous items including further discriminatory statements and actions by Teske

and others, the nature of the GAL funds, the plain language of the MOU, and Mr.

Bostock’s recruiting success. Mr. Bostock is entitled to summary judgment on the

issue of liability and this case should proceed to trial on the sole issue of damages.

      II.    ARGUMENT AND CITATION OF AUTHORITY

       A. Plaintiff is Entitled to Summary Judgment Based on Direct Evidence
          of Discrimination

      In his initial brief, Mr. Bostock established that there is direct evidence of

discrimination in the sworn testimony of Teske, the undisputed decisionmaker in

Mr. Bostock’s termination. Teske admitted under oath that Mr. Bostock’s sexual

orientation was a “contributing factor” in his decision to terminate Mr. Bostock.

(Teske Dep. 177:22-178:20.) “There is not the slightest subtlety or ambiguity in this

statement, and it falls easily within the ‘most blatant’ of remarks.” Wheat v. Rogers

& Willard, Inc., 271 F. Supp. 3d 1327, 1331 (S.D. Ala. 2017).




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      Defendant, however, completely ignores this undisputed statement and

instead argues that Teske’s other statements are not direct evidence and that they in

fact disclaim any discriminatory motive. This tortured reading is simply unstainable

as a matter of fact and law.

      First, Defendant, ignores that fact that Teske’s testimony and diary statements

concerning Mr. Bostock’s sexuality are directly tied to his reason for terminating

Mr. Bostock. See EEOC v. Alton Packaging Corp., 901 F.2d 920, 923–24 (11th

Cir.1990) (general manager's remark that “if it was his company, he wouldn't hire

any black people,” constituted direct evidence of discriminatory motive in failing to

promote black employee when general manager was responsible for promotion

decisions at issue) Teske said as much in the testimony Defendant ignores. But that

is certainly not the only instance.

        Teske characterized Midtown Atlanta as “the gay district of Atlanta.” (Teske

Depo. 176:24-177:13; Exhibit 43 at 11). Teske was suspicious of Mr. Bostock’s

spending in Midtown “because [Mr. Bostock] is gay.” Thus, by Teske’s own

admission, his alleged “suspicions” of Mr. Bostock’s spending to recruit and retain

volunteers for the CASA program - the entire basis of the audit - were “because

[Mr. Bostock] is gay.” (Id.) But for Mr. Bostock’s sexuality, not only would Teske

not have fired him, but Mr. Bostock never would have come under Teske’s

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discriminatory “suspicion” in the first place.

      Teske factored Mr. Bostock’s sexual orientation into his conclusion that Mr.

Bostock was spending money on “personal things” in Midtown Atlanta. (Teske

Depo. at 182:3–25). Thus, Defendant simply ignores the plain fact that all of Teske’s

suspicions were based around a protected trait – Plaintiff’s sexuality.

      Defendant defies logic by arguing that “knowledge that many of these

midtown Atlanta establishments advertised themselves as gay-friendly, and that

Plaintiff also is gay, reinforced the already reasonable, common-sense suspicion that

Plaintiff was just going out to bars and restaurants near where he lived and

dishonestly claiming to have been ‘recruiting’ Clayton County CASA GAL

volunteers.” (Doc. 154 at 6.) Thus, Defendant’s own argument concedes that Mr.

Bostock’s sexuality was a factor in “reinforcing” Teske’s discriminatory suspicion.

In other words, as Teske himself admitted, Mr. Bostock’s sexuality was “a

contributing factor” in his decision to terminate Mr. Bostock. 1




1
  Moreover, Mr. Bostock was not living in Midtown Atlanta at this time nor did
Teske ever even reference this in his deposition or anywhere else in the record. Mr.
Bostock testified that he would regularly stay the night at an individual’s townhome
“towards the end” of their relationship which ended in April of 2012, over a year
before the audit. (Bostock Depo. at 71:11–22; Holland Depo. (Doc. 142-10) 12:18-
25.)
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      Defendant speciously argues that Teske disclaimed a discriminatory motive

and that “for a jury to find Judge Teske’s statements to be direct evidence of sexual-

orientation discrimination, the jury at least would have to make the additional

inference or presumption that Judge Teske did not mean what he said when he

expressly disclaimed having an anti-gay discriminatory motive.” (Doc. 154 at 5-6.)

This is simply absurd.2

      First, Defendant’s reliance upon the misleadingly truncated statement of

Teske’s that “it’s not the gay thing that upsets me” conveniently omits what Teske

wrote directly after that: “It's that appearance that because he is gay he is spending

money on his own interests -- that's a conflict.” (Teske Depo at 177:1-4; Teske Depo

Ex. 11) (emphasis added). Further, Teske admitted that his assumption was that

because Mr. Bostock was recruiting in Midtown he was “engaging in gay-related

activity, and not serious CASA-related activity.” (Teske Depo. 177:22-178:4.)

Thus, to the extent Teske ever “disclaimed a discriminatory motive,” his own words

– including those written just after that - impeach him.

      1. Teske’s Discriminatory Animus Was the “But For” Cause of Mr.
         Bostock’s Termination




2
 And Defendant’s contention that “Teske expressly states in his diary that Plaintiff
was not terminated for being gay” (doc. 154 at 7) is without any evidentiary support.
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      Mr. Bostock has established as a matter of law that his sexual orientation was

the “but for” cause of his termination. As determined by the Supreme Court, that is

all that is required. Bostock v. Clayton Cty., Ga, 140 S. Ct. 1731, 1739 (2020).

(“Often, events have multiple but-for causes . . .[w]hen it comes to Title VII, the

adoption of the traditional but-for causation standard means a defendant cannot

avoid liability just by citing some other factor that contributed to its challenged

employment decision. So long as the plaintiff's sex was one but-for cause of that

decision, that is enough to trigger the law.”)

      Defendant argues, however, that "nothing in the record supports the assertion

that the County would not have fired Plaintiff for his misuse of the GAL funds if he

had not been gay." (Doc. 154 at 8.) First, Defendant's conclusory assertion that

Mr. Bostock "misused" GAL funds is a conclusory assumption without any

evidentiary basis. Nowhere in the audit report does it say that Mr. Bostock engaged

in misconduct or that he “misused” funds. (Doc. 137-3, Moore Dep. Ex. 10.) And

the MOU does not limit the use of the fees only to the recruitment, training and

retention of Clayton County CASA volunteers serving as court appointed advocates

or guardians ad litem. (Bostock Depo. Ex. 4.)

      Defendant also alleges that Mr. Bostock had previously received leniency

with respect to treatment by his superiors. The events to which Defendant refers are

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completely irrelevant because they had no basis in Teske's decision to terminate

Mr. Bostock. Moreover, two of the three of the instances of alleged leniency towards

Plaintiff took place when Judge Banke was Chief Judge, not when Teske was. (Doc.

154 at FN2.) This only underscores their irrelevance. And as to third event – the

alleged “hostile work environment,” Teske testified that he investigated employee

complaints against Mr. Bostock and that they were not credible. (Teske Depo. 157:2-

24.) There was no “leniency” when the complaint itself was completely unfounded.

      Similarly, the fact that Teske and others may have known of Plaintiff's sexual

orientation for a period of time before he was terminated ignores that it was only

after Mr. Bostock began participating in the Softball League and recruiting CASA

volunteers and sponsors in the Midtown area that he was terminated. (Teske Depo.

at 183:17–184:17; Johnson Depo. 129:22-130:1; Johnson Depo. Ex. 94.)

       Additionally, it is absurd to suggest that because an employer previously

knew of an individual’s protected trait that the individual could never be subject to

discrimination. There is no “window of tolerance” after which an employer may

engage in discrimination without consequence. Nothing in Title VII supports this.

      Defendant also incorrectly attempts to link Ms. Merritt's concerns following

her interview with Mr. Bostock as somehow related to his expenditures. This is not

so. Rather, Merritt explained that to the extent she could recall, her concerns were

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based on there being more than one individual taking in money or having access to

where checks or cash were kept. (Merritt Depo. 61:14-63:13; Ex. 92.) And whether

Ms. Merritt harbored any anti-gay animus or not is also irrelevant because the audit

itself was a product of such animus.

      Defendant contests this latter statement regarding the audit, but the undisputed

evidence shows the animus that infected the audit and audit process. Mr. Bostock’s

initial brief sets forth numerous facts evidencing this (doc. 127-1 at 17-19)

including, among others, that on April 30, 2013, John Johnson wrote a memo to

Stacey Merritt, Head of Internal Audits, requesting an audit of the GAL account.

(John Johnson Depo., Exhibit 94). This memo from Johnson specifically questioned

expenditures at “adult/alternative bars” which Johnson testified meant gay bars or

alleged “gay friendly” establishments. (John Johnson Depo. at 130:6–21; Ex. 94.).

This memo also specifically referenced Mr. Bostock’s softball team. (Johnson Depo.

Ex. 94.) Moreover, the audit file contains printouts from the websites of certain

Midtown Atlanta area restaurants including a hand drawn circle around language

identifying one establishment as “Atlanta[’s] First and ONLY Gay Sports Bar” and

highlighting of the language “Atlanta’s favorite neighborhood gay bar and

restaurant” for another establishment. (Docs. 137-5, 137-6, and 137-7, Moore Dep.

Exs. 82, 83, 84.)

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      Defendant also mischaracterizes the evidence concerning Mr. Bostock’s

recruitment of volunteers. Under the MOU, Mr. Bostock was authorized to use these

funds “to fund volunteer recruitment, training, and retention” of CASA volunteers.

(Teske Depo. at 54:18–21; Teske Depo., Exhibit 3 at 2). Mr. Bostock provided Teske

with detailed information concerning pledges, donations, and volunteers for training

he secured from these recruiting efforts. (Bostock Dep. Ex. 10.) As Mr. Bostock

explained at his deposition, an individual could volunteer for the CASA program in

multiple ways beyond becoming a court appointed advocate or guardian ad litem.

(Bostock Dep. 206:8-21.) And in at least one instance, an individual who was to

begin the CASA application process as the result of Bostock’s recruiting stopped

doing so after Mr. Bostock was fired, due to his support of Mr. Bostock. (Bostock

Dep. 207:6-208:14.) And of course, Defendant terminated Mr. Bostock only a short

time after he began recruiting among softball league members which obviously

ended the opportunities with the potential volunteers he was recruiting and the

further success he may have had.

      Defendant erroneously argues that many of these sponsorships were not a

proper use of GAL funds and should have instead been recruited using FCCC funds.

This is wrong for several reasons.

      First, the MOU does not limit the use of GAL funds only to the recruitment,

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training and retention of Clayton County CASA volunteers serving as guardians ad

litem. (Bostock Depo. Ex. 4.) Second, training, recruitment, and retention included

aspects of the “relationship-building process,” (Bostock Depo. at 120:15–121:11),

and the items listed in the information Mr. Bostock provided to Teske fall within

that definition. Mr. Bostock testified that an individual could volunteer for the

CASA program in multiple ways beyond just becoming a court appointed special

advocate or guardian ad litem. (Bostock Dep. 206:8-21.)

        Additionally, Mr. Bostock reported to the FCCC board concerning the use of

these funds and on a regular basis made the bank account records available to the

board with explanation for all expenditures. (Crawford Depo. at 18:4–14; Bostock

Depo. at 140:6–141:1). And in late 2011 or early 2012, Mr. Bostock began providing

annotated copies of bank statements from the GAL account to Mr. Johnson and Mr.

Slay for their review. (Slay Depo. at 92:12–18; John Johnson Depo. at 84:21–24 to

86:14). If Defendant had questions or concerns about Mr. Bostock’s spending it had

every opportunity to raise them. And FCCC Chair Sabrina Crawford, who has a

background in bookkeeping and accounting, reviewed the bank statements and

determined that the expenditures were consistent with the MOU. (Crawford Depo.

at 39:8–41:18; 41:19–24; 61:10-62:6).3


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    Defendant’s self-serving hypothetical questions about what a family would think
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      Moreover, the GAL funds were not county funds. The MOU states that

“Clayton County CASA” would charge a $500 administrative fee. (Teske Depo., Ex.

3, Doc. 138-1 at 114). The checks for these monies were payable to Friends of

Clayton County CASA – a private non-profit corporation - and not to the court or

any other Clayton County department or entity. (Teske Depo. Ex. 3.). Plaintiff

testified that the Clayton County Superior Court judges wanted the money to go to

the FCCC in order to bypass county finance. (Bostock Depo. at 128:9–13). In fact,

on April 30, 2013, John Johnson wrote a memo to Stacey Merritt, Head of Internal

Audits, with Slay and Teske copied on the memo, stating in part that the Juvenile

Court administration did not have “any direct oversight authority” with respect to

the GAL account. (John Johnson Depo. at 130:6–21; Ex. 94.) And on May 1, 2013,

Teske wrote an email to Johnson with Slay and Merritt copied in which Teske

admitted that under the terms of the MOU, “we have no authority to gain access” to

the GAL funds and directing that Johnson take the MOU “to legal and have them

change the paragraph regarding where the monies go.” (Merritt Dep. Ex. 59.) In

other words, Defendant injected itself into an arrangement (1) over which it had no

authority under the terms of the MOU; and (2) which did not involve court or county



about Mr. Bostock’s expenditure are baseless as they are premised on the falsehood
that the funds were used simply to “play softball with friends.” (Doc. 154 at 13-14.)
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funds; and (3) acting ultra vires, usurped supervision of the arrangement, overruling

the non-profit that owned and oversaw management of the fund.

      2. Defendant Cannot Show That it Would Have Reached the Same Decision
         Absent a Discriminatory Motive

      Defendant wrongly contends that “there is no dispute Judge Teske would have

terminated Plaintiff for expending GAL funds outside the scope of the MOU, even

absent any suspicion that Plaintiff spent GAL funds on personal interests.” (Doc.

154 at 15.) But this is very much a matter of dispute.

      First, many of the grounds upon which Defendant relies on this issue have

already been addressed and refuted in Section II.A.1. And as set forth at length in

Mr. Bostock’s initial brief, Teske deliberately mischaracterized or ignored the actual

contents of the audit and instead relied upon his own discriminatory assumptions

that because Mr. Bostock is gay, any expenditures in Midtown Atlanta must have

been personal in nature rather than CASA related. (Doc. 127-1 at 20-22.) And any

alleged conclusion Mr. Bostock spent funds outside the MOU is itself driven by his

own discriminatory animus compared to (1) what the MOU actually says; and (2)

what Mr. Bostock reported to him regarding his recruiting efforts and expenditures.

      Thus, Defendant cannot, as a matter of law, rely on the audit to support a

“same decision” defense. Mr. Bostock is entitled to summary judgment on his

discrimination claim. This case should proceed to trial on the sole issue of damages.
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       B. Mr. Bostock is at a Minimum Entitled to Summary Judgment Under
          a Mixed Motive Standard

      Mr. Bostock has established that he is entitled to summary judgment because

the direct evidence shows that Teske terminated him because of his sexual

orientation. Should, however, the Court determine that issues of fact remain with

respect to “but for” causation or otherwise, Mr. Bostock is at the least entitled to

summary judgment on a “mixed motive” theory of discrimination with the issue of

but- for causation to be presented to the jury at trial.

      Defendant argues, however, that “the statements on which Plaintiff relies here

express no desired sexual orientation for the position of Child Welfare Services

Coordinator or any other juvenile court employee.” (Doc. 154 at 20.) But this

argument completely ignores the fact that Teske testified under oath that Mr.

Bostock’s sexuality was a “contributing factor” in Teske’s decision to terminate him.

That is more than enough under the motivating factor standard. Quigg v. Thomas

Cty. Sch. Dist., 814 F.3d 1227, 1239 (11th Cir. 2016); see also 42 U.S.C. § 2000e–

2(m) (“[A]n unlawful employment practice is established when the complaining

party demonstrates that race, color, religion, sex, or national origin was a motivating

factor for any employment practice, even though other factors also motivated the

practice.”) Whether Teske made some general proclamation about the desired



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characteristics of the Child Welfare Coordinator is completely beside the point given

his undisputed statement as to why he terminated Mr. Bostock.

      Defendant also argues that Teske’s own statements in his diary are not

evidence of discrimination or pretext and are simply him “acknowledging” Mr.

Bostock’s protected status.” (Doc. 138-6 at 15.) This is simply ludicrous. Multiple

references to Mr. Bostock’s sexuality in the direct context of Teske’s reasons for

terminating him go far beyond simple “acknowledgement.”4 Indeed, his repeated to

the point of obsessive references to Bostock being “gay” in the context of his

decision to fire him can lead to but one conclusion: Bostock’s sexual orientation was

a contributing factor to the decision, which Teske freely admitted in his deposition.

      Defendant even goes so far as to claim that “it [was] legitimate for Judge

Teske to acknowledge Plaintiff’s sexual orientation in suspecting Plaintiff may be

spending GAL funds on personal interests.” But Teske admitted that his alleged

“suspicions” of Mr. Bostock’s spending to recruit and retain volunteers for the

CASA program - the entire basis of the audit - were “because [Mr. Bostock] is gay.”

(Id.) Thus, Teske’s alleged suspicions were grounded in the discriminatory belief

that because Mr. Bostock is gay, he must be spending money in Midtown - which


4
  Teske’s statements are direct evidence of discrimination. But should the Court
conclude otherwise, any interpretation of his statements is an issue for the trier of
fact to resolve.
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Teske called “the gay district of Atlanta” - to pursue his own self interests, rather

than recruiting, training or retaining volunteers.

      Teske’s statements and admission in his sworn testimony, at a minimum,

establish the sexuality-based bias that infected his decision making process. Even if

the Court should determine that issues of fact remain as to “but for” causation, Mr.

Bostock is at a minimum entitled to summary judgment on a mixed motive claim

with the issue of but for causation to be a matter for the tier of fact to determine.

                                   III.   CONCLUSION

      For the reasons set forth herein and in Plaintiff’s initial brief, the Court should

grant Plaintiff’s motion for summary judgment.

      Respectfully submitted this 25th day of May 2022.

                                               /s/ Thomas J. Mew
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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
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GERALD LYNN BOSTOCK,                  )
                                      )
            Plaintiff,                )
                                      )
v.                                    )        CIVIL ACTION
                                      )        NO: 1:16-cv-01460-ELR-WEJ
CLAYTON COUNTY,                       )
                                      )
            Defendant.                )


                         CERTIFICATE OF COMPLIANCE

     The undersigned certifies that the foregoing has been prepared in Times New

Roman 14 font, as approved by the Court in LR 5.1B.

                                                   /s/ Thomas J. Mew
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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 25, 2022, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system which will automatically send email

notification of such filing to all counsel of record.



                                                BUCKLEY BEAL, LLP

                                         By:    /s/ Thomas J. Mew
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